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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                *             MDL NO. 2179
       “DEEPWATER HORIZON” IN THE              *
       GULF OF MEXICO, on APRIL 20, 2010 *
                                               *
                                               *
    Relates to: No.10-8888 Doc. Ref. No. 63576 *             JUDGE BARBIER
                                               *
 Vessel of Opportunity (VoO) Contract Disputes *             MAG. JUDGE SHUSHAN
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                              DECLARATION OF HOI NGUYEN



     1.    My name is Hoi Nguyen. I am more than eighteen years old and am competent to

make this declaration. My primary language is Vietnamese. I can speak a little English. I can

read only a very little English. I gave the information in this document to Maile Nguyen, who

works for my attorney. She translated it and then translated it back to me so I could be sure it

was right.

2.        I have owned the My Angel II, which is a 79 foot steel hull shrimp boat, since 2001. My

homeport is Biloxi. I have been a commercial shrimper since 1982.

3.        I signed a charter agreement with BP in early May 2010. The copy they sent back to me

is attached to this document. The one they sent me had some missing pages. I don’t know who

the person was who was giving out the contracts. I went to a meeting about the VOO program

at Point Cadet in Biloxi in early May and they told us you if had to be ready to go or you would

not get to work. They translated the charter agreement terms into Vietnamese there. At all of
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these meetings there were people who acted like they were speaking for BP, but I do not know

who they were.

4.     A little later, about May 14, 2010, I went with three members of my crew to a training

session at the community college close to the Edgewater Mall in Biloxi, Mississippi. This was

the training we were told we had to get to work under the charter agreement. Then we waited to

hear from someone.

5.     On May 30, 2010, I got a call from someone working for BP who told me to leave the

dock and go out and get instructions about work. It was late in the day so we went out early the

next morning. We were out for two weeks that time. We put out boom and did other things. We

saw a lot of oil and a lot of oil got on the boat. After the first two weeks we would come back in

sometimes to get fuel and supplied, to Biloxi or Bayou La Batre in Alabama. About the second

week in July I took a longer class about hazardous materials. We went down as far as Pensacola

while we were out working. We got instructions over the radio about what to do. I do not know

the names of the people who were giving us instructions. We never saw them, just talked to

them on the radio.

6.     In mid-July, 2010, we were in Mobile Bay and someone called to say go and get your

boat cleaned and then go home. We went by a barge close to the Dauphin Island bridge in

Mobile Bay. They sprayed one side of the boat and then we turned around and they sprayed the

other side. I did not see the Coast Guard there. There were not any booms around the area

where they were washing the boat. I never got a certificate or anything like that about this

cleaning. There was still oil on the boat and on some of the lines we had on the boat after they

washed it from the barge.




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7.      We got back to Biloxi about July 18, 2010 or maybe a day before. I have been given a

copy of a paper that is attached to this declaration. Attachment B. It has my signature on it but

the writing on it is by someone else. I do not remember this document or signing it. I can only

read some simple things in English.

8.      We kept the My Angel II at the dock in Biloxi waiting for somebody to tell us something

since I knew we had to be ready to go if we got called. We did not go fishing or do any other

work with the boat. I sent the bills to BP but they did not pay them. The bills I sent are attached.

Attachment C.

9.      I did not hear anything else from BP but at the end of August I got this letter from BP.

Attachment D. I got someone to read it to me. In early September someone told me that I was

on a list to go get decontaminated in Bayou La Batre. I called a Vietnamese man who I knew as

Devon who seemed to be working with BP and he told me that I was on a list to get

decontaminated and that I should go over on September 16. I went over to Bayou La Batre and

went to the place they said. They put boom around the boat and went around the boat in a skiff

and washed it. They told me to bag up and dispose opf all the lines that had oil on them. I got

the document that is attached as Attachment E after that. We got back to Biloxi on September

17 and tied up.

10.     A few days later somebody called and told me to send an invoice for ten days. Since I

had already sent invoices I thought I did not need to.

11.     The total that BP paid me before October 2010 was $208,340. This is the same amount

as the bills I sent for May 31 through July 20. Attachment C.

12.     In October 2010, they paid me another $34,200.

13.     In March 2011, they paid me another $7,600.




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I declare under penalty of perjury that the foregoing is true and correct.

August 26, 2011.



                                                      Hoi Van Nguyen




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